

Bit the Court.

The plaintiff, the present ap-pellee, who sues for a separation of bed and board from her husband, has obtained a general verdict against him. That verdict must be conclusive, as to the' existence of the facts, on which she rested her claim, unless the appellant has taken, in dué time, the steps necessary to secure his right of shewing to this court that the verdict was illegally found.
This, He could have done, in this case, by excepting to the charge of the Judge, before the jury retired, It seems he attempted to do so, after the ^ verdict was returned ; but, according to the prin-' ciples of general practice, it was then too late to tender any exception. /
It is, therefore, ordered that the judgment of thq inferior court be affirmed with costs.
